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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Richmond Division)


  In re:
                                                      Chapter 7
  LECLAIRRYAN PLLC,
                                                      Case No. 19-34574 (KRH)
               Debtor.
  ______________________________________

  Lynn L. Tavenner, as Chapter 7 Trustee,

                  Plaintiff,

  vs.                                                 Adv. Proc. No. 20-03142-KRH

  ULX Partners, LLC, UnitedLex
  Corporation, and ULX Manager, LLC

                  Defendants.


    MOTION FOR ENTRY OF AN ORDER AUTHORIZING DEFENDANTS TO FILE
     THEIR MEMORANDUM IN SUPPORT OF THEIR MOTION FOR SUMMARY
             JUDGMENT AND RELATED EXHIBITS UNDER SEAL

           ULX Partners, LLC (“ULXP”), UnitedLex Corporation (“UnitedLex”), and ULX

 Manager, LLC (“ULXM”) (collectively, the “Defendants”) by and through their undersigned

 counsel, pursuant to Rule 9018 of the Federal Rules of Bankruptcy Procedure, hereby files this

 Motion for Entry of an Order Authorizing Defendants to File Their Memorandum in Support of

 Their Motion for Summary Judgment and Related Exhibits Under Seal, (the “MSJ Memo”). (The
 ______________________________________
 David G. Barger (VSB No. 21652)
 Thomas J. McKee, Jr. (VSB No. 68427)
 J. Gregory Milmoe (admitted pro hac vice)
 Greenberg Traurig, LLP
 1750 Tysons Boulevard, Suite 1000
 McLean, Virginia 22102
 Telephone: (703) 749-1300
 Fax:        (703) 749-1301
 Email: mckeet@gtlaw.com

 Counsel to ULX Partners, LLC, UnitedLex Corp., and ULX Manager, LLC
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 instant motion shall be referred to herein as the “Motion to Seal”. Defendants state the following

 in support of their Motion to Seal:

        1.      On May 25, 2021, this Court entered a Stipulated Protective Order Regarding the

 Disclosure and Use of Confidential Information [Docket No. 47] (the “Protective Order”).

        2.      The Protective Order allowed the Parties to exchange confidential information,

 including without limitation, “(a) the parties’ trade secrets or other sensitive non-public proprietary

 information; (b) any nonparty business entity’s trade secrets or other sensitive non-public

 proprietary information; (c) any personal information, the disclosure of which could violate

 individual privacy rights; (d) confidential contracts or contract terms, financial information,

 commercial information, or competitively sensitive information; (e) confidential and privileged

 client information, files, and other records; and/or (f) any nonparty information the secrecy of

 which a party has a duty to protect.” (Protective Order, ¶1).

        3.      Pursuant to the Protective Order, the Parties have exchanged hundreds of thousands

 of pages of documents, many of which contain information regarding confidential and proprietary

 information belonging to the Parties.       The Parties have, accordingly, stamped many such

 documents as CONFIDENTIAL as that term is defined in the Protective Order.

        4.      Similarly, the Parties have taken more than a dozen depositions in this case. The

 Defendants have marked a number of these deposition transcripts as CONFIDENTIAL as they

 contain sensitive commercial information, business strategies, customer contact information,

 pricing terms, and the like.

        5.      In accordance with the Third Stipulation and Amended Pre-Trial Order,

 concurrently herewith, Defendants are filing their Motion for Partial Summary Judgment, as well

 as the MSJ Memo on January 28, 2022.




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        6.      The MSJ Memo contains various references throughout the memorandum with

 respect to the contents of documents that have been stamped as CONFIDENTIAL by the Parties.

 Similarly, attached to the MSJ Memo is Defendants’ Statement of Undisputed Material Facts and

 various exhibits, such as emails and deposition transcripts that have been marked as

 CONFIDENTIAL by at least one of the Parties. More specifically, some of the exhibits and

 deposition transcripts reference business strategies, pricing, client information, customer

 information, and related financial information that is not generally known to the public and which

 is confidential to either the Estate and/or the Defendants.

        7.      As the Trustee has marked various documents and information upon which the

 Defendants seek to rely in their MSJ Memo, and to comply with the Protective Order, the

 Defendants respectfully request that the MSJ Memo be sealed pursuant to Rule 9018 of the Federal

 Rules of Bankruptcy Procedure, which provides:

                On motion or on its own initiative, with or without notice, the court may
                make any order which justice requires (1) to protect the estate or any entity
                in respect of a trade secret or other confidential research, development, or
                commercial information, (2) to protect any entity against scandalous or
                defamatory matter contained in any paper filed in a case under the Code, or
                (3) to protect governmental matters that are made confidential by statute or
                regulation. If an order is entered under this rule without notice, any entity
                affected thereby may move to vacate or modify the order, and after a hearing
                on notice the court shall determine the motion.

        8.      Similarly, the Defendants respectfully seek to seal the MSJ Memo pursuant to

 established Fourth Circuit precedent. Before a district court may seal any court documents, it must

 (1) give public notice of the request to seal and allow interested parties a reasonable opportunity

 to object, (2) consider less drastic alternatives to sealing the documents, and (3) provide specific

 reasons and factual findings supporting its decision to seal the documents and for rejecting the

 alternatives. See Ashcraft v. Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000) (citing In re Knight




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 Pub. Co., 743 F.2d 231, 235-36 (4th Cir. 1984)); see also Stone v. University of Maryland Med.

 Sys. Corp., 855 F.2d 178, 181 (4th Cir. 1988).

         9.      The Defendants’ request satisfies all three of the Ashcraft requirements. The

 Defendants have met the public notice requirement by filing a separate Notice of this Sealing

 Motion for docketing. Public notice of the Sealing Motion is satisfied by docketing the Sealing

 Motion “reasonably in advance of deciding the issue.” In re Knight Publ’g Co., 743 F.2d at 235.

 In addition, the Defendants will provide notice of this Sealing Motion to (i) the Trustee; (ii) counsel

 for the Trustee; (iii) the Office of the United States Trustee; and (iv) all parties that have requested

 notice of this adversary proceeding.

         10.     Short of the sealing described herein, there are no less drastic alternatives that

 appropriately protect the sensitive information contained in the MSJ Memo and its exhibits.

 Disclosures of confidential, proprietary, and sensitive information could cause harm to

 Defendants’ client relationships and competitive advantage.

         11.     The third Ashcraft consideration is satisfied by the rationale for the sealing set forth

 above, which supports entry of the Proposed Order accompanying Sealing Motion.

         WHEREFORE, Defendants respectfully request that the Court grant this Motion to Seal

 by entry of the attached Proposed Order, and allow the filing of the MSJ Memo (including all

 exhibits) under seal on the public docket until such further Order of this Court, and for such other

 relief as is just and proper.


 Dated: January 28, 2022                                __/s/ Thomas J. McKee, Jr._____________
                                                        David G. Barger (VSB No. 21652)
                                                        Thomas J. McKee, Jr. (VSB No. 68427)
                                                        Greenberg Traurig, LLP
                                                        1750 Tysons Boulevard, Suite 1000
                                                        McLean, Virginia 22102
                                                        Telephone: (703) 749-1300



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                                             Facsimile: (703) 749-1301
                                             Email: bargerd@gtlaw.com
                                                    mckeet@gtlaw.com


                                             Counsel to ULX Partners, LLC, UnitedLex
                                             Corporation, and ULX Manager, LLC




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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 28th day of January, 2022, a true and correct copy of
 the foregoing document was served upon all counsel of record via the Court’s ECF system,
 including:

               Erika L. Morabito, Esq.
               Brittany J. Nelson, Esq.
               QUINN EMANUEL
               erikamorabito@quinnemanuel.com
               brittanynelson@quinnemanuel.com

               Special Counsel to Lynn L. Tavenner, Chapter 7 Trustee



                                                   /s/ Thomas J. McKee, Jr.____________
                                                   Thomas J. McKee, Jr. (VSB No. 68427)
                                                   Greenberg Traurig, LLP
                                                   1750 Tysons Boulevard, Suite 1000
                                                   McLean, Virginia 22102
                                                   Telephone: (703) 749-1300
                                                   Facsimile: (703) 749-1301
                                                   Email: mckeet@gtlaw.com

                                                   Counsel to ULX Partners, LLC, UnitedLex
                                                   Corporation, and ULX Manager, LLC




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